Case 17-13284 Doc 101 Filed 07/16/18 Entered 07/16/18 15:45:49 Main Document Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA


   IN RE: DURUND FRANKLIN ELZEY                                 CASE NO. 17-13284; SEC B
          COURTNEY CHATMAN ELZEY                                CHAPTER 13

                                        CONSENT ORDER

          Considering the hearing scheduled for July 18, 2018, on the Motion for Relief (p.59) filed

   on behalf of PENNYMAC HOLDINGS, LLC, AS SERVICED BY PENNYMAC LOAN

   SERVICES, LLC ("Creditor") and the agreement between parties:

          IT IS HEREBY AGREED that, DURUND FRANKLIN ELZEY and COURTNEY

   CHATMAN ELZEY ("Debtors"), have paid to Creditor, $7,900.00 on April 18, 2018 and

   $2,640.00 on May 15, 2018, total received $10,540.00, which said funds have applied to the

   January 2018 through and including April 2018 post petition payments in the amount of $2,618.05,

   with $63.80 towards debtor suspense. Creditor acknowledges receipt of $10,540.00 of said

   payment.

          IT IS ORDERED that the Debtors shall pay the balance of $8,524.35, which represents

   May 2018 through and including July 2018 post petition payments in the amount of $2,619.05, with

   $63.80 in debtor suspense, and attorney fees and costs of $731.00, by paying in CERTIFIED

   FUNDS ONLY, three (3) monthly installments in the amount of $2,131.09 each, and one (1)

   monthly installment in the amount of $2,131.08, in addition to the regular monthly mortgage

   payments, beginning August 1, 2018 through and including November 1, 2018.

          IT IS FURTHER ORDERED that the Debtors shall thereafter pay the regular monthly

   mortgage payments on a timely basis in accordance with the note and mortgage beginning with the

   August 01, 2018 payment. The regular monthly mortgage payments are subject to change due to

   the escrow provisions of the note and mortgage.
Case 17-13284 Doc 101 Filed 07/16/18 Entered 07/16/18 15:45:49 Main Document Page 2 of 2



           IT IS FURTHER ORDERED that in the event the Debtors fail, to make all payments as

   required by this consent order or fail to pay any regular monthly mortgage payments thereafter or

   fail to pay said attorney's fees, all in accordance with this consent order, the Creditor shall be

   entitled to ex parte relief from the automatic stay, after a fourteen (14) day notice to Debtors and

   Debtors’ Counsel, and upon presentation of an affidavit of an officer or employee of Creditor, or its

   successors, establishing such default 30 days thereafter. The ex parte relief order will allow

   Creditor to foreclose immediately on the property more fully described in the mortgage filed in the

   record hereof, and which property bears the municipal address of 505 Snead Crt, Slidell, Louisiana

   70458. This order shall survive one (1) year after entry of this order or until this case is otherwise

   dismissed.

           IT IS FURTHER ORDERED that movant shall serve this order on the required parties

   who will not receive notice through the ECF system pursuant to the FRBP and the LBR’s and

   file a certificate of service to that effect within three days.

           New Orleans, Louisiana, July 16, 2018.



                                                            Hon. Jerry A. Brown
                                                            U.S. Bankruptcy Judge




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   By: /s/ Jason R. Smith                                By: /s/ Thomas H. Gray
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